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FILE

U.S. DISTRICT COURT
EASTERN DISTRICT ARKANSAS

IN THE UNITED STATES DISTRICT COURT MAR 1 4 2019
EASTERN DISTRICT OF ARKANSAS JAMES W. Nic

WESTERN DIVISION By:___ BS
DEP CLERK

UNITED STATES OF AMERICA

 

V. Case No. 4:19CR00116-1 JM
ANDREW SCOTT PIERSON
ORDER OF DETENTION

The Defendant appeared with counsel on this date for plea and arraignment. The
Defendant waived his rights to a detention hearing at this time and agreed to be detained. He
reserves the right to request a detention hearing in the future should he so choose.

The Defendant is remanded to the custody of the United States Marshal Service. While
detained, the Defendant must be afforded a reasonable opportunity to consult privately with
defense counsel. Further, on order of the United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the Defendant to the
United States Marshal for a court appearance.

IT IS SO ORDERED this 14th day of March 2019.

AW —

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UNITEDSTATES MAGISTRATE JUDGE
